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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS



  SALLY RIVET                                              CIVIL ACTION
                         Plaintiff
                                                           NO. 10CV11819-RWZ
                  V.


  MONARCH RESOLUTION LLC ET AL
                  Defendant




                       STIPULATION FOR DISMISSAL


      Now come the parties in the above-entitled action, by their attorneys, and

hereby stipulate and agree that the action be Dismissed.


      Dated this 17TH day of    MAY, 2011.




                                             s/ Lisa A. Urso
                                             Deputy Clerk
